                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                 AT WINCHESTER


UNITED STATES OF AMERICA                  )
                                          )      Case No. 4:17-cr-20-HSM-SKL
v.                                        )
                                          )
MYKEL PARKS                               )



                                       ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending

the Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of

the eighteen-count Indictment (2) accept Defendant’s plea of guilty to the lesser offense

of the charge in Count One of the Indictment, that is of conspiracy to distribute a mixture

and substance containing cocaine base, (“crack”), a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (3) adjudicate Defendant guilty of the

lesser offense of the charge in Count One of the Indictment, that is of conspiracy to

distribute a mixture and substance containing cocaine base, (“crack”), a Schedule II

controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (4) defer a

decision on whether to accept the amended plea agreement until sentencing; and (5) find

Defendant shall remain in custody until sentencing in this matter [Doc. 70]. Neither party

filed a timely objection to the report and recommendation. After reviewing the record,

the Court agrees with the magistrate judge’s report and recommendation. Accordingly,

the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation

[Doc. 70] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:




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      (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the

            Indictment is GRANTED;

      (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of

            the Indictment, that is of conspiracy to distribute a mixture and substance

            containing cocaine base, (“crack”), a Schedule II controlled substance, in

            violation of 21 U.S.C. §§ 846 and 841(b)(1)(C) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge

            in Count One of the Indictment, that is of conspiracy to distribute a mixture

            and substance containing cocaine base, (“crack”), a Schedule II controlled

            substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C);

      (4)   A decision on whether to accept the amended plea agreement is

            DEFERRED until sentencing; and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter

            which is scheduled to take place on March 5, 2018 at 9:00 a.m.

            [EASTERN] before the Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:



                                                  /s/ Harry S. Mattice, Jr._____
                                                  HARRY S. MATTICE, JR.
                                               UNITED STATES DISTRICT JUDGE




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